Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 1 of 43




                          Exhibit 2
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 2 of 43
	  




                           UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF NEW YORK


IN RE MERRILL LYNCH MORTGAGE-             Civil Action No. 08 CIV. 10841 (JSR)
BACKED CERTIFICATES
LITIGATION                                CONSOLIDATED CLASS ACTION
                                          ECF




                        EXPERT REPORT OF JOSEPH R. MASON
                                    Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 3 of 43



I.                                                        INTRODUCTION AND SUMMARY OF OPINIONS

                                                          1.                                                          I am a Senior Consultant with Precision Economics, which specializes in applying

accounting, economics, and finance to business consulting, legal, and regulatory issues. I discuss my

qualifications in more detail in Section II and present my publications in the last ten years and case testimony

in the last four years in Appendix A to this report.


                                                           2.                                                         This case is a class action relating to the issuance of $16.5 billion in mortgage-backed

securities issued by Merrill Lynch Mortgage Investors, Inc. in 18 public offerings (Offerings) that occurred

between February 14, 2006 and September 7, 2007.1 It is my understanding that the proposed class is defined

as:

                                                          All persons or entities who purchased or otherwise acquired Merrill Lynch Alternative Note
                                                          Asset Trust Series 2007-A3, 2007-AF1, 2007-F1, Merrill Lynch First Franklin Mortgage
                                                          Loan Trust Series 2007-2, 2007-3, 2007-4, 2007-A, Merrill Lynch Mortgage Investors Trust
                                                          Series 2006-MLN1, 2006-FM1, 2006-FF1, 2006-RM5, MLCC 2006-2, 2006-AHL1, 2006-
                                                          RM3, 2006-WMC1, 2006-WMC2, 2006-A1, Ownit Mortgage Loan Trust Series 2006-2 and
                                                          who were damaged thereby. Excluded from the Class are Defendants and their respective
                                                          officers, affiliates and directors at all relevant times, members of their immediate families and
                                                          their legal representatives, heirs, successors or assigns and any entity in which Defendants
                                                          have or had a controlling interest. 	  

                                                          3.                                                          I have been asked by Plaintiffs’ Counsel to provide my expert opinion with respect to the

following points: (1) Whether the securities in each offering are interrelated; (2) Whether untrue statements

and material omissions in the offering documents would similarly affect the securities in each offering; (3)

Whether there are numerous investors in the proposed class; and (4) Whether the securities can be valued as

of different dates and whether damages to members of the class can be measured using a common

methodology. In conducting my analysis, I reviewed documents produced in this action as well as other

materials identified in Appendix B. I reserve the right to supplement my analysis in response to any newly

produced evidence or facts or in rebuttal to any opinions offered by defendants’ experts.
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1 Each of the Merrill Lynch Certificates issued through the Offerings is traceable to Merrill Lynch’s registration
statements dated August 5, 2005 (as amended) (the “August 2005” registration statement), December 21, 2005 (as
amended) (the “December 2005” registration statement), or February 2, 2007 (as amended) (the “March 2007”
registration statement), and to the prospectuses and prospectus supplements that were used to offer or sell each
Certificate.




	                                                                                                                                                                                                                                                  2
        Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 4 of 43



          4.     In summary, I am of the opinion that the nature of mortgage-backed securities generally, and

these Offerings specifically, is that each of the securities within an offering represents a claim on the cash

flows of the underlying collateral. The nature of each of those claims is, therefore, undoubtedly interrelated.


          5.     In all cases, the source of the cash flows derives from the loans in the collateral pools.

Underwriting and associated controls help ensure that pools of like loans are securitized together,

contributing to consistency and homogeneity that, as explained below, reduces investors’ adverse selection –

or “lemons” – discounts. If underwriting processes and procedures break down or if underwriting standards,

generally, shift to more permissive conditions, the resulting deterioration in the forecast accuracy of the loan

pool performance will affect all bonds.


          6.     As losses are realized, the extent to which the more senior securities are exposed to credit

risk increases, and all else equal, this adversely impacts the market value of these securities. That is to say,

losses/prepayments do not have to flow through to a given security to affect the value of that security – as

long as they are of a magnitude that was not expected, all securities in the offering will be affected. In sum, all

the securities in an offering are interrelated and untrue statements and material omissions in the offering

documents similarly affect the securities in each offering.


          7.     Mortgage-backed securities (MBS) trade in a well-organized long-established over-the-

counter (OTC) market. Investors in private-label MBS include both institutions and individuals. My analysis

shows that there were, in fact, numerous individual and institutional investors in the eighteen offerings. As

explained below, I estimate that the cumulative number of investors exceeds 1,600. While my analysis

includes all data produced to date, additional data would likely increase the number of investors established

here.


          8.     Damages to each of the class members can be calculated in a formulaic manner. I describe in

detail below how values can be used to calculate losses to each class member.




	                                                      3
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 5 of 43



         9.      Section II below provides a brief overview of my qualifications. Section III provides an

overview of the economics of securitization. Section IV describes the components of a typical securitization.


         10.     Section V relates the prior material to the Merrill Lynch deals that are the subject of the

present litigation. Section V.a shows how the securities related to the present litigation are interrelated.

Section V.b describes how the allegedly untrue statements and material omissions relate to all investor classes

as a matter of the economics of securitization, generally. Section V.c demonstrates the numerosity of

proposed class members. Section V.d discusses common valuation techniques that can be applied to the

securities purchased by the proposed class members.


II.      QUALIFICATIONS

         11.     I am the Hermann Moyse, Jr./ Louisiana Bankers Association Chair of Banking at the Ourso

School of Business, Louisiana State University, Senior Fellow at the Wharton School, and Senior Consultant

at Precision Economics, LLC.


         12.     My consulting practice specializes in applying financial, economic, valuation, and statistical

analyses to complex commercial litigation and corporate strategic decision-making. I have provided expert

consulting services and testimony in a broad range of banking and financial services industry matters.


         13.     I am Professor of Finance and Hermann Moyse, Jr./Louisiana Bankers Association Chair of

Banking at the Ourso School of Business at Louisiana State University and Senior Fellow at the Wharton

School and have held visiting appointments at the Federal Reserve Bank of Atlanta, the Federal Deposit

Insurance Corporation, and the Federal Reserve Bank of Philadelphia. I have testified before numerous

Congressional Committees, European Parliament, and the Federal Reserve Board. I previously served as a

Financial Economist at the Office of the Comptroller of the Currency and Director at Navigant Economics

LLC. I hold a Ph.D. and a M.S. from University of Illinois at Urbana Champaign (Monetary Economics and

Financial Institutions). A list of all cases in which I have testified at trial or deposition in the last four years

appears in Appendix A.




	                                                       4
                                    Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 6 of 43



                                                           14.                                                        My academic research has been published in top-tier scholarly journals and books. My

research and economic commentary is cited by media throughout the world, including The Wall Street

Journal, The New York Times, Washington Post, Financial Times, the Economist, Barrons, Business Week,

die Zeit, Neue Zürcher Zeitung, Forbes, Fortune, Bloomberg Magazine, American Banker, and on press

syndicates such as Associated Press, Reuters, Bloomberg, KnightRidder, and MarketWatch-Dow Jones

Newswire. I have been a frequent guest on CNBC, Bloomberg Television, and Fox Business News and have

appeared on NBC News, CNN Headline News, CNBC Asia, National Public Radio, BBC Radio, Bloomberg

Radio, and NBC Radio.


                                                           15.                                                        Precision Economics is being compensated for my work in this matter at my standard hourly

rate of $700. Other Precision Economics professionals, working under my direction and supervision, assisted

in my analyses and Precision Economics was or will be compensated for their work at their customary hourly

rates. Our compensation is not contingent in any way upon the outcome of this matter.


III.                                                       MODERN SECURITIZATION IS BUILT UPON ECONOMIC THEORIES OF ASYMMETRIC INFORMATION
                                                           THAT EMPHASIZE LOAN CONSISTENCY AND HOMOGENEITY


                                                           16.                                                        Nobel Laureate George Akerlof (1970)2 first became famous for describing how buyers and

sellers act when faced with “asymmetric information” – that is, when sellers have more information about

product quality than buyers. In some cases, the asymmetric information can never be fully reconciled,

meaning the seller can never completely credibly commit to their assertions of product quality. When

asymmetric information remains unreconciled, the buyer will impose a “lemons discount” on the price in

order to adjust for hard-to-verify information about quality. In Akerlof’s classic example of the used car,

information that cannot be communicated from seller to buyer will prevent the seller from realizing the car’s

true worth upon sale. If information asymmetries are perceived as too large (valuable) the sale becomes

uneconomical: the seller won’t bother to sell a used car at all if the price the car can fetch is too low (because

of the lemons discount) relative to its true value.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2Akerlof, George A., “The Market for Lemons: Quality Uncertainty and the Market Mechanism.” The Quarterly Journal of
Economics, vol. 84, no. 3, (Aug 1970), pp. 488-500.




	                                                                                                                                                                                                                                                  5
                                    Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 7 of 43



                                                           17.                                                        The key problem to be overcome in any loan sale and securitization is the asymmetric

information. Market arrangements to reduce the “lemons discount” in loan sales are therefore of interest in

finance and economics, and institutional arrangements in loan sale markets reflect Akerlof’s theories.3 There

exist several common mechanisms used to align incentives between sellers and buyers in the face of

substantial asymmetric information and reduce the lemons discount. The point of each of those mechanisms

is to credibly disclose information so that purchasers reduce their lemons discounts. One such mechanism is

to provide credible representations with regard to (but not limited to) the application of underwriting

guidelines and appraisal standards to the pools of mortgages. After having performed consistently in such

capacity, issuers may build credibility based upon a reputation for consistently selling homogenous pools of

loans. Thus, representations support higher prices for loans underwritten on the basis of hard- or impossible-

to-verify origination information than would occur in the absence of such mechanisms.


                                                           18.                                                        Viewed through the lens of asymmetric information and economic research on loan sales

markets, therefore, if the risk of a loan pool is increased, all investors – unable to discern, ex ante, whether risk

had increased – would be induced to overpay for their investment shares.


IV.                                                        OVERVIEW OF SECURITIZATION

                                                           19.                                                        The present section provides an overview of the economically important aspects of

securitization that support the ability to sell high-asymmetric information financial assets at reasonable prices,

devoid of the significant lemons discounts described above.


                                                           20.                                                        I show in this section that the basic securitization strategy and mechanism hinges crucially

on creating consistent pools of homogenous loans whose performance can be predicted to a degree of

accuracy that supports pooling and tranching – that is, securitization. I show that while many different types



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3For instance, see Gorton, Gary B., and George G. Pennacchi (1995). “Banks and Loan Sales Marketing Nonmarketable
Assets,” Journal of Monetary Economics 35, 389-411; and Benveniste, Lawrence M. and Allen N. Berger (1987),
“Securitization with Recourse: An Instrument that Offers Uninsured Bank Depositors Sequential Claims.” Journal of
Banking and Finance 11, 403-24.




	                                                                                                                                                                                                                                                  6
                                    Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 8 of 43



of loans are produced for securitization, the production process and means of consistently creating

homogenous pools is common across different types of mortgages, even if each type is securitized separately.


                                                           21.                                                        Moreover, while common credit enhancement structures control similarly for risk, credit

enhancement structures built upon consistent and homogenous pools of loans, accurately described, provide

cheaper funding than those built upon inconsistent and heterogeneous pools of loans, ceteris paribus.


                                                                                        a.                            The Basic Securitization Strategy and Mechanism Hinges Crucially on Pool Homogeneity
                                                                                                                      and Consistency

                                                           22.                                                        Securitization is nothing more than a means by which the fair market value of proceeds of

future cash payments can be received by the securitizer as a lump sum today, rather than waiting to receive

those as a series of cash payments in the future. Hence, securitizers take the lump sum today in exchange for

selling the future payments to investors who are willing to wait until tomorrow.


                                                           23.                                                        In basic finance, the payment to be received today is just the net present value (NPV) of the

expected payments in the future. Hence, securitization begins with the basics of net present value

discounting. The standard NPV formula discounts the expected future cash payment by a discount rate that is

compounded across time.


                                                           24.                                                        As with any interest rate, the discount rate is the sum of a number of factors, beginning with

the time value of money – or rental rate on capital – and inflation. The discount rate also includes the default

risk premium, prepayment risk premium, and other typical risk premia, such as those represented in the

offerings. Last, the discount rate takes into account the remaining uncertainties about the loan characteristics

and other elements of the securitization by adding a lemons premium – akin to Akerlof’s lemons discount on

the price of the car – to the discount rate as a penalty for information about the loans that remains

unverified.4




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
4        Hereinafter referred to as a lemons discount, for the sake of simplicity.




	                                                                                                                                                                                                                                                  7
                                    Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 9 of 43



                                                           25.                                                        Loans with lower credit risk or other risk factors will be discounted more favorably in terms

of NPV than those with higher credit risk or other risk factors. Hence, representing riskier loans as less risky

loans would be misleading, since the risky loans’ value is lower.


                                                           26.                                                        But loan pools sold by a sponsor with a reputation for past consistency and homogeneity at

any particular level of credit or other risk can also be more valuable than others because they can be

securitized at a discount rate with a lower lemons discount. Securitization sponsors (the institutions that

initially purchase and then securitize the loans – Merrill Lynch in this case) have historically gone to lengths to

build credibility based upon reputation for selling consistently homogenous pools loans in order to drive

down the lemons discount.


                                                           27.                                                        Literature on securitization as early as 1996 established that some of the key elements for

successful securitization are: standardized contracts; consistent grading of risk via underwriting; databases of

historical performance statistics; standardization of applicable laws; and standardization of servicer

capabilities and quality.5 Without such consistency, “…the determination of the size of financial guarantees or

excess collateral needed to enhance ratings to optimal levels for salability in the market becomes very difficult,

and the price of such coverage prohibitive. Securitization can make efficient use of insurance principles and

the bifurcation of cash flows, provided a reliable body of data on past performance is available for analysis.” 6


                                                           28.                                                        Moody’s confirms that sponsor differences in maintaining consistency in “underwriting

standards, selection of assets, and servicing” are a substantial basis for material risks in securitization

performance.7 Without underwriting that leads to consistent pools of homogenous loans, the basis for initially

valuing all the securities within any series breaks down.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
5 Kendall, Leon T. “Securitization: A New Era in American Finance,” A Primer on Securitization, Leon T. Kendall and
Michael J. Fishman, eds, MIT Press, 1996, at 7.
6 Id.
7 Hu, Jian; Cantor, Richard; Weill, Nicolas; and Phillip, Tad. “Deal Sponsor and Credit Risk of U.S. ABS and MBS

Securities,” Moody’s Special Comment, December 2006.




	                                                                                                                                                                                                                                                  8
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 10 of 43



                                                           29.                                                        The stages of securitization are supposed to provide two main functions: those that

consistently produce loans that are homogenous with respect to risk grade and type and those that verify the

consistency and homogeneity of the loan production to drive down investors’ lemons discount.


                                                           30.                                                        Securitization, therefore, begins with loan origination. Loan originators are in direct contact

with the borrowers, facilitating the loan application process by providing forms and sometimes helping gather

documentation and performing other tasks.


                                                           31.                                                        If loans are not intended for securitization they can be originated using any variety of forms,8

documents, procedures, etc… (or none, if desired). When securitization is desired, however, such forms,

document, procedures, etc… are typically standardized to a high degree in order to reduce asymmetric

information and the commensurate lemons discount by consistently generating homogenous pools of loans.

For the same reasons, even when loans are originated by third-party mortgage brokers for eventual

securitization, such elements are typically standardized by (or the degree of standardization and consistent

implementation is monitored or overseen by) the institution that is expected to be purchasing those loans.

Those forms, documents, and procedures are determined by and produced according to the underwriting

criteria established for the purpose of origination.


                                                           32.                                                        As a result, the institution that expects to initially purchase and securitize the loans (usually

referred to as the deal sponsor – in this case, Merrill Lynch Mortgage Lending, Inc. (an affiliate, through

common parent ownership, of Merrill Lynch, Pierce, Fenner & Smith Incorporated and a direct, wholly

owned subsidiary of Merrill Lynch Mortgage Capital Inc.) and First Franklin Financial Corporation (which,

after its acquisition by Merrill Lynch on December 31, 2006, became an operating subsidiary of Merrill Lynch

Bank & Trust Co., FSB, and an affiliate of Merrill Lynch, Pierce, Fenner & Smith Incorporated) – also

typically establishes acceptable underwriting criteria by which the loans they will purchase will be or were

originated. In other words, the sponsor sets the decision rules that determine which loans are to be accepted


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
8        Beyond, of course, those required specifically be regulatory agencies.




	                                                                                                                                                                                                                                                  9
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 11 of 43



as suitably homogenous to support reasonably accurate predictions of pool performance that may allow

eventual securitization.


         33.        The deal sponsor may deposit the loans in a conduit (sometimes called the depositor –

Merrill Lynch Mortgage Investors, Inc. in this case), pending securitization. The conduit is similar to the

sponsor in that it is another entity that can own the loans in the intermediate stage between origination and

securitization.


         34.        The conduit is merely a means to legally segregate the loans so that they can be pledged to

the securitization trust (the Merrill Lynch offering series in this case), which raises funds to purchase the loans

by selling securities to investors: that is, through securitization.


         35.        The process of issuing the securities to fund the loans – the process of securitization, strictly

speaking – then follows the typical steps in any securities issue. The securities underwriter (Merrill Lynch,

Pierce, Fenner & Smith Incorporated) are supposed to verify key information to include in the offering

documents and – in the case of debt securities – seek credit ratings on the securities to be sold on the basis of

that, as well as potentially additional information from the sponsor, originators, and others. The securities

underwriters then sell the securities to other investment bank, financial institution, and individual investors.


         36.        Of particular economic importance is information about the loans that has been aggregated

through the mortgage lending and securitization process with the express purpose of establishing consistency

and homogeneity, and therefore the predictability, of the collateral performance. As described above,

investors crucially rely on consistent underwriting to produce a homogenous pool of loans whose

performance can be predicted accurately enough to justify senior and subordinate bonds bought without a

significant lemons discount.


               b.   Different Types of Mortgage Loans Are Securitized Separately to Maintain Pool
                    Homogeneity

         37.        Heterogeneity that can confound a securitization can come from many sources. The most

basic type of heterogeneity would be mixing materially different loans in the same pool. Figure 1 shows a


	                                                        10
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 12 of 43



stylized segmentation of the market for first-lien mortgage debt, delineating twenty-four different classes of

mortgages, each potentially with unique characteristics relative to others that may be important for accurately

modeling and securitizing the loans, as well as investing in the securitizations funding those loans.


               Figure 1: Segmentation of the Outstanding First-lien Mortgage Debt Market




               Credit Suisse US Mortgage Strategy, “Credit Suisse - Mortgage Liquidity du Jour-Underestimated
                                               No More,” March 12, 2007.

         38.       The left half of Figure 1 relates to agency MBS. Agency MBS include only “conforming”

loans – that is, conventional loans to borrowers with demonstrably sound credit and typical loan amounts

relative to collateral values, i.e., FICO scores, debt-to-income ratios, and loan-to-value ratios (LTVs). Even in

agency MBS it is important to realize that loan consistency and homogeneity are key factors in the ability to

properly sponsor and underwrite securitizations.




	                                                          11
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 13 of 43



         39.        The right half of Figure 1 relates to private-label MBS, such as the MBS at issue in this case.

Mortgages in private-label MBS are generally those that do not qualify for securitization in agency (i.e., Fannie

Mae or Freddie Mac) MBS. Private-label lenders therefore produce a wider range of loan types than agencies.


         40.        “Prime” private-label mortgages are usually jumbo loans, which exceed the size limits for

agency MBS but conform to agency guidelines in all other respects, including FICO scores, debt-to-income

ratios, and LTVs. While such attributes would typically be reflective of “prime” credit status, jumbo loans are

usually priced higher than agency conforming loans because they are not subsidized by the Government

Sponsored Enterprises (GSEs) that are the source of most other prime (conforming) loans.


         41.        In contrast, subprime mortgages are typically loans to borrowers with blemished credit

records. That is, borrowers with low FICO scores and/or high (verified) debt-to-income ratios. Some

subprime borrowers may have been delinquent on their existing mortgage in the past year. Alternatively,

subprime borrowers may simply lack financial reserves or income usually associated with the size and type of

loan they are seeking.


               c.   Underwriting, Quality Controls, and Due Diligence Should Ensure Sufficient Consistency
                    and Homogeneity of Like Loans to Support Securitization

         42.        It is up to the parties securitizing and selling the offerings to ensure that collateral is not

comingled to such an extent that the degree of predictability required for securitization is lacking. Changing

or not adhering to underwriting criteria, whether to generally relax guidelines or to expand guideline

application to other types of borrowers or loan uses, can result in material adverse effects on securitization

performance.


         43.        One way that agency MBS control heterogeneity is by requiring that all loans securitized

through their facilities are underwritten on their own software platform to their express specifications,

regardless of origination channel (retail, wholesale, or correspondent). For instance, all Fannie Mae loans are

underwritten according to their Loan Prospector tool according to set procedures for verifying income and




	                                                       12
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 14 of 43



assets, as well as other factors. Again, the purpose is to constrain loan heterogeneity so that the loans can be

securitized in consistent and homogenous pools that investors can reasonably price.


         44.        In private label lending for securitization, sponsors typically stated that they require

processes and procedures for underwriting and enforce conformity for the same purpose as GSEs: to

accurately estimate credit risk in order to maintain loan consistency and homogeneity that crucially supports

securitization and investment.


               d.   Typical Credit Enhancement Structures Can Only Control for Loan Risks in Consistently
                    Homogenous Pools

         45.        Unlike corporate securities issues, where debt and equity may be issued at different times

subject to different information sets – including prospectuses and marketing literature – all securities issued in

any one MBS are issued at the same time on the basis of the same information set and collateral. More

generally, even securitizations issued on the basis of the same collateral type over time are usually issued on

the basis of nearly identical information and collateral in order to take advantage of the decreased lemons

discount arising from past consistency and homogeneity. Loans originated on the basis of greater

underwriting heterogeneity will rationally be subjected to a higher lemons discount (a lower price, as

described above) if such characteristics have been disclosed explicitly.


         46.        Securitization of many product classes is a relatively mature industry. So while there has been

a long-term evolution in securitization features, most were fairly standardized by the time of the Offerings.

Indeed, prospectus supplements for the Merrill Lynch MBS referenced in the present Complaint illustrate

that the Offerings use most all of the common types of credit enhancements typical in the industry.


         47.        Most private-label mortgage securitizations by 2005 used a very common structure of credit

enhancement based on a senior-subordinate structure. In a senior-subordinate structure, one or more

subordinate classes of securities absorb losses before any losses accrue to the senior class.




	                                                       13
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 15 of 43



                                                           48.                                                        Most private label jumbo and Alt-A MBS are based on a common “six-pack” structure of

credit enhancement. The six-pack contains six layers of subordination in a standard senior-subordinate

framework.


                                                           49.                                                        A typical feature of many MBS is a condition whereby prepayments are initially allocated to

the senior class to preserve the dollar amount of the subordinate classes that create the credit enhancement.

As long as the deal performs as expected, prepayments are eventually allocated to subordinate classes. If the

underlying pool experiences high delinquencies or losses, prepayments remain allocated to the senior class.

Nonetheless, the value of the A class can still be adversely affected even if the prepayment allocations prevent

bond defaults in the senior class – preserving such allocations just reduces the magnitude of the decline in

value of the senior securities as it mitigates the rising probability of default.


                                                           50.                                                        Some Alt-A MBS and most subprime mortgage MBS may include an "OC", or

overcollateralization, structure. OC deals use “excess spread” as credit enhancement. Excess spread is the

difference between the net interest rate on the underlying loans and the weighted-average coupon on the

certificates. Excess spread may be used to cover current period cash flow shortfalls, if any such shortfalls

exist. If no cash flow shortfalls exist, the excess spread may be contributed to pay down the principal balance

of the senior certificates, accelerating their amortization and providing greater buffer against future loss

because of the additional collateral buffer – the overcollateralization – underlying the remaining senior

certificate balance.9


                                                           51.                                                        Similar to an extreme form of OC, some mortgage securitizations have used a "fast pay/no-

pay" structure, whereby no distributions of principal whatsoever may be made to holders of the subordinate

certificates until the senior certificates have been retired. A variation on the fast-pay/no-pay theme is a

structure in which all prepayments of principal are allocated to the senior certificates until they are retired,



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
9
  Some past MBS used excess spread to build up a reserve fund (trap) as a savings account to be held against future
losses. Such a reserve fund is similar to OC but its source can be subordinate allocations rather than excess spread.




	                                                                                                                                                                                                                                                  14
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 16 of 43



while scheduled principal payments remain allocated between the senior certificates and the subordinated

certificates on a pro rata basis.


         52.       Some MBS use bond insurance or other outside guarantees for credit enhancement. Those

typically consist of guarantees of collections on the underlying pool. Such guarantees provided by banks

typically take the form of stand-by letters of credit, while others are usually referred to simply as "guarantees."


         53.       Securitizations may also contain cross-collateralization features that allow more loans to be

securitized at any one point in time than would otherwise typically be the case. As before, the key reason for

doing so is to maintain pool consistency and homogeneity, both of which enhance that ability to securitize

the loans.


         54.       Up until now the discussion of MBS credit enhancement structures has consisted only of

what are called “I” structures, where the “I” describes the “shape” of the structure, meaning there is one set

of credit enhancement – in terms of subordinate bonds and other features – underlying the senior bonds.

Common “H” and “Y” cross-collateralization structures provide additional flexibility and scale to

securitizations.


         55.       An H structure is built upon two collateral groups and two groups of subordinated bonds.

The groups of bonds, however, are cross-collateralized by the excess interest created by the combined pool of

loans. Y structures are similar, in that there exist two pools of loans and two sets of senior bonds, but only a

single set of subordinate bonds that have collateral claims on both pools. The remainder of the typical terms

usually apply to a typical H or Y structure, so that – after accounting for the cross-collateralization in the

collateral pools – they differ very little – from the perspective of economics – from an I structure.


               e. Typical Cash Flow Allocation in Securitizations


         56.       Cash flows are allocated in securitizations according to the senior-subordinate structure.

Losses are allocated first to the subordinate bonds and then to the senior bonds in order of relative seniority,

subject to the credit enhancement rules stipulated above. In all cases, however, the source of the cash flows


	                                                      15
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 17 of 43



derives from the loans in the pools. If underwriting processes and procedures break down or if underwriting

standards, generally, shift to more permissive conditions, the resulting deterioration in the forecast accuracy

of the loan pool performance will affect all bonds.


V.                                                         OPINIONS

                                                           57.                                                        This action arises from the sale of over $16.5 billion in Merrill Lynch mortgage-backed

certificates issued between February 14, 2006 and September 7, 2007.10 The table below summarizes the

offerings at issue:


                                                                                                                                                                                                                                                                                Prospectus
                                                                                                               Offering                                                                                                                             Registration Statement                     Principal Amount
                                                                                                                                                                                                                                                                             Supplement Date

                  Merrill Lynch Alternative Note Asset Trust,
                               Series 2007-A3                                                                                                                                                                                                            March 2007             4/30/2007        $483,874,100

                  Merrill Lynch Alternative Note Asset Trust,
                               Series 2007-AF1                                                                                                                                                                                                           March 2007             6/1/2007         $680,620,637

                  Merrill Lynch First Franklin Mortgage Loan
                             Trust, Series 2007-2                                                                                                                                                                                                        March 2007             4/27/2007       $1,937,062,100

                  Merrill Lynch First Franklin Mortgage Loan
                             Trust, Series 2007-3                                                                                                                                                                                                        March 2007             5/30/2007       $1,835,617,100

                  Merrill Lynch First Franklin Mortgage Loan
                             Trust, Series 2007-4                                                                                                                                                                                                        March 2007             6/26/2007       $1,547,200,100

                  Merrill Lynch First Franklin Mortgage Loan
                             Trust, Series 2007-A                                                                                                                                                                                                        March 2007             9/7/2007         $219,636,100

                  Merrill Lynch Alternative Note Asset Trust,
                                Series 2007-F1                                                                                                                                                                                                          December 2005           3/28/2007        $439,565,336


                               Merrill Lynch Mortgage Investors Trust,
                                                                                                                                                                                                                                                        December 2005           9/28/2006        $787,216,100
                                         Series 2006-MLN1

                               Merrill Lynch Mortgage Investors Trust,
                                                                                                                                                                                                                                                        December 2005           6/29/2006        $424,683,100
                                          Series 2006-FM1

                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                  December 2005          12/22/2006       $2,280,872,100
                                          Series 2006-FF1

                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                  December 2005          10/27/2006        $520,625,100
                                          Series 2006-RM5

                                 Merrill Lynch Mortgage Investors Trust                                                                                                                                                                                 December 2005           4/27/2006        $628,422,100
                                          Series MLCC 2006-2

                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                  December 2005           6/29/2006        $413,329,100
                                         Series 2006-AHL1


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
10            See generally, Complaint paragraphs 1-4 38-40.




	                                                                                                                                                                                                                                                                    16
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 18 of 43



                                                                                                                                                                                                                                                                                Prospectus
                                                                                                               Offering                                                                                                                             Registration Statement                     Principal Amount
                                                                                                                                                                                                                                                                             Supplement Date


                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                  December 2005           6/27/2006        $740,607,100
                                          Series 2006-RM3

                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                   August 2005            2/14/2006       $1,204,884,100
                                         Series 2006-WMC1

                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                   August 2005            3/28/2006       $1,205,046,100
                                         Series 2006-WMC2

                               Merrill Lynch Mortgage Investors Trust,                                                                                                                                                                                   August 2005            3/29/2006        $656,531,100
                                           Series 2006-A1


                     Ownit Mortgage Loan Trust, Series 2006-2                                                                                                                                                                                            August 2005            3/9/2006         $533,541,100


                                                                                                                                                                                                                                                                                                $16,539,332,573




                                                           58.                                                        Lead Plaintiffs allege in the Complaint that the offering documents contained untrue

statements of material fact, or omitted to state material facts necessary to make the statements therein not

misleading regarding the underwriting standards purportedly used in connection with the origination of the

underlying mortgages, the maximum loan-to-value ratios used to qualify borrowers, the appraisals of the

properties underlying the mortgages, and the ratings of the Certificates.11


                                                           59.                                                        Those underwriting standards and their implementation were monitored by Merrill Lynch

for the purpose of maintaining the type consistency and homogeneity that is crucial for securitization. For

example, fourteen of the prospectuses include the specific language: “Prior to acquiring any residential

mortgage loans, MLML reserves the right to conduct a review of the related mortgage loan seller that is based

upon the credit quality of the selling institution. MLML’s review process may include reviewing select

financial information for credit and risk assessment and conducting an underwriting guideline review, senior

level management discussion and/or background checks.”12 In three other deals, the loans were underwritten


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
11See, e.g., Complaint, paragraph 7.
12Merrill Lynch Alternative Note Asset Trust, Series 2007-A3, at S-41; Merrill Lynch Alternative Note Asset Trust,
Series 2007-AF1, at S-39; Merrill Lynch Alternative Note Asset Trust, Series 2007-F1, at S-32; Merrill Lynch Mortgage
Investors Trust, Series 2006-MLN1, at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-FM1, at S-38; Merrill
Lynch Mortgage Investors Trust, Series 2006-FF1, at S-39; Merrill Lynch Mortgage Investors Trust, Series 2006-RM5, at
S-39; Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2, at S-31; Merrill Lynch Mortgage Investors Trust,
	  


	                                                                                                                                                                                                                                                                  17
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 19 of 43



subject to Merrill Lynch’s “Direct Access Program,” in which third-party originators underwrote the loans

according to Merrill Lynch’s own underwriting model and guidelines.13 In the sole remaining case, Merrill

Lynch First Franklin Mortgage Loan Trust, 2007-A (FFMER 2007-A), “All of the Mortgage Loans were

originated generally in accordance with First Franklin Financial’s Underwriting Guidelines.” (p. 28, S-28)

under its CORE program.


                                                          60.                                                        Similar statements support the assertion that Merrill Lynch originated and/or reviewed loans

(or should have done so) to maintain the consistency and homogeneity necessary for securitization.

Prospectuses for seven deals stated specifically that loans were originated, “…with a view toward the resale of

the mortgage loans in the secondary mortgage market,”14 or “…underwritten to be eligible to be sold in the

secondary market,”15 suggesting that they were selected with an eye toward the consistency and homogeneity

necessary for securitization.


                                                          61.                                                        In addition, eight of the prospectuses (including those underwritten to Merrill Lynch’s own

standards) maintained that loan reviews were used “to confirm the existence and accuracy of credit

documentation, appraisal analysis and underwriting decision. A report detailing audit findings and level of

error is sent monthly to each branch for response. The audit findings and branch responses must then be

reviewed by the third party originator’s senior management. Adverse findings are to be tracked monthly and

over a rolling six month period. This review procedure allows the third party originator to assess programs




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
Series 2006-AHL1, at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-RM3, at S-36,37; Merrill Lynch
Mortgage Investors Trust, Series 2006-WMC1, at S-43; Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2, at
S-44; Merrill Lynch Mortgage Investors Trust, Series 2006-A1, at S-23; Ownit Mortgage Loan Trust, Series 2006-2, at S-
33.
13 Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-35; Merrill Lynch First Franklin Mortgage Loan

Trust, Series 2007-3, at S-36; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-36.
14
   Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-34; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-3, at S-35; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-35; Merrill Lynch
Mortgage Investors Trust, Series 2006-FM1, at S-34; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-36.
15
   Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, at S-47,48, and Merrill Lynch Mortgage Investors Trust,
Series 2006-MLN1, at S-37.




	                                                                                                                                                                                                                                                                                                                                                                                   18
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 20 of 43



for potential guideline changes, program enhancements, appraisal policies, areas of risk to be reduced or

eliminated and the need for additional staff training” (or substantially similar language).16


                                                           62.                                                        The eight deals with the loan review language in the preceding paragraph also included

language to the effect that, “[originators] are required to conduct a number of quality control procedures,

including a post funding compliance audit as well as a full re-underwriting of a random selection of loans to

assure asset quality. Under the asset quality audit, all loans are required to be reviewed to verify credit grading,

documentation compliance and data accuracy. Under the asset quality procedure, a random selection of each

month’s originations must be reviewed by each [originator or its senior management].”17


                                                           63.                                                        Every prospectus contained language giving Merrill Lynch the rights and ability to review

extensively the quality control processes, procedures, and outcomes of the originating lenders to varying

degrees. Hence, Merrill Lynch had the ability to and would reasonably be expected to monitor loan

origination for the type of consistency and homogeneity that could support securitization according to the

originator’s underwriting standards.


                                                           64.                                                        The underwriting standards applied to the loans in each pool are described in each

prospectus supplement. For example:


                                                           The Underwriting Guidelines are primarily intended to (a) determine that the borrower has
                                                           the ability to repay the [mortgage] in accordance with its terms and (b) determine that the
                                                           related mortgaged property will provide sufficient value to recover the investment if the
                                                           borrower defaults…. WMC Mortgage Corp. verifies the loan applicant's eligible sources of
                                                           income for all products, calculates the amount of income from eligible sources indicated on
                                                           the loan application, reviews the credit and mortgage payment history of the applicant and

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
16 Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-37; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-3, at S-38; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-38; Merrill Lynch
First Franklin Mortgage Loan Trust, Series 2007-A, at S-31; Merrill Lynch Mortgage Investors Trust, Series 2006-FM1,
at S-36; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-38; Merrill Lynch Mortgage Investors Trust,
Series 2006-RM5, at S-37; Merrill Lynch Mortgage Investors Trust, 2006-RM3, at S-35.
17
   Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-37; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-3, at S-38; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-38; Merrill Lynch
First Franklin Mortgage Loan Trust, Series 2007-A, at S-31; Merrill Lynch Mortgage Investors Trust, Series 2006-FM1,
at S-36; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-38; Merrill Lynch Mortgage Investors Trust,
Series 2006-RM5, at S-37; Merrill Lynch Mortgage Investors Trust, 2006-RM3, at S-35.




	                                                                                                                                                                                                                                                  19
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 21 of 43



                                                           calculates the Debt Ratio to determine the applicant's ability to repay the loan, and reviews
                                                           the mortgaged property for compliance with the Underwriting Guidelines.18

And:

                                                           The underwriting standards of ResMAE are primarily intended to assess the ability and
                                                           willingness of the borrower to repay the debt and to evaluate the adequacy of the mortgaged
                                                           property as collateral for the mortgage loan. ResMAE considers, among other things, a
                                                           mortgagor's credit history, repayment ability and debt service-to income ratio (referred to
                                                           herein as the Debt Ratio), as well as the value, type and use of the mortgaged property ….
                                                           ResMAE has one underwriting program called the “TotalScore Program.”19

And:

                                                           Each mortgage loan originated or acquired by Accredited is underwritten prior to loan
                                                           closing, or re-underwritten after loan closing but prior to purchase by Accredited, in
                                                           accordance with Accredited’s underwriting guidelines. Accredited's underwriting process is
                                                           intended to assess a mortgage loan applicant's credit standing and repayment ability and the
                                                           value and adequacy of the real property security as collateral for the proposed mortgage
                                                           loan… Each prospective mortgagor completes a mortgage loan application that includes
                                                           information with respect to the applicant's liabilities, income, credit history, employment
                                                           history and personal information.20

                                                           65.                                                        In addition, the prospectus supplements included statements concerning the appraisals of

the properties underlying the mortgages. For example:

                                                           Every mortgage loan is secured by a property that has been appraised by a licensed appraiser
                                                           in accordance with the Uniform Standards of Professional Appraisals Practice…. The
                                                           appraisers perform on-site inspections of the property and report on the neighborhood and
                                                           property condition in factual and specific terms. Each appraisal contains an opinion of value
                                                           that represents the appraiser’s professional conclusion based on market data of sales of
                                                           comparable properties and a logical analysis with adjustments for differences between the
                                                           comparable sales and the subject property and the appraiser’s judgment. In addition, each
                                                           appraisal is reviewed for accuracy and consistency by the Originator’s vendor management
                                                           company or an underwriter of the Originator or a mortgage insurance company contract
                                                           underwriter.21

And:

                                                           First Franklin Financial is required to comply with applicable federal and state laws and
                                                           regulations and generally requires an appraisal of the mortgaged property which conforms to
                                                           Freddie Mac and/or Fannie Mae standards; and if appropriate, a review appraisal. Generally,


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
18 Merrill Lynch Mortgage Investors Trust, Series 2006-WMC1, at S-32 to S-33.
19 Prospectus supplement for Merrill Lynch Mortgage Investors Trust, Series 2006-RM5, at S-35
20 Merrill Lynch Mortgage Investors Trust, Series 2006-AHL1, at S-34.
21
   Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, at S-46




	                                                                                                                                                                                                                                                  20
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 22 of 43



                                                           appraisals are provided by appraisers approved by First Franklin Financial, but all review
                                                           appraisals may only be provided by First Franklin Financial. . . .22

And:

                                                           Ownit will evaluate the property by reviewing uniform residential real estate appraisal
                                                           reports, along with other data sources, to determine whether the collateral is sufficient to
                                                           secure the mortgage…. All appraisals should conform to the Uniform Standards of
                                                           Professional Appraisal Practices. Ownit requires the underwriter to review all appraisals for
                                                           content and accuracy, pulling additional data if available or warranted. Loan amounts in
                                                           excess of $600,000 require a second full appraisal. 23


                                                           66.                                                             Relatedly, the prospectus supplements also included a variety of statements about the loan-

to-value ratios used to qualify borrowers. For example:

                                                           Countrywide Home Loans may provide secondary financing to a borrower
                                                           contemporaneously with the origination of a mortgage loan, subject to the following
                                                           limitations: The Loan-to-Value Ratio of the senior (i.e. first) lien may not exceed 80% and
                                                           the combined Loan-to-Value Ratio may not exceed 100%.24

And:

                                                           The appraiser’s value conclusion is used to calculate the ratio (loan-to-value) of the loan
                                                           amount to the value of the property. For loans made to purchase a property, this ratio is
                                                           based on the lower of the sales price of the property and the appraised value. The Originator
                                                           sets various maximum loan-to-value ratios based on the loan amount, property type, loan
                                                           purpose and occupancy of the subject property securing the loan.25

And:

                                                           Under the CORE Program, various risk categories are used to assess the likelihood that the
                                                           applicant will satisfy the repayment conditions of the loan. These risk categories establish the
                                                           maximum permitted loan-to-value ratio and loan amount, given the occupancy status of the
                                                           mortgaged property and the applicant’s credit history and Debt Ratio.26


                                                           67.                                                        Finally, each of the prospectus supplements made substantially similar statements about the

ratings of the Certificates and stated that the receipt of certain predetermined ratings from the credit-rating




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
22
   Merrill Lynch First Franklin Mortgage Loan, Trust Series 2007-A, at S-30
23
   Ownit Mortgage Loan Trust, Series 2006-2, at S-32,33.
24
   Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, at S-54, Merrill Lynch Mortgage Investors Trust, Series
2006-A1, at S-27.
25
   Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, at S-46.
26
   Merrill Lynch First Franklin Mortgage Loan, Trust Series 2007-A, at S-31.




	                                                                                                                                                                                                                                                  21
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 23 of 43



agencies was “a condition of the issuance of the Offered Certificates that they be assigned.” For example, one

prospectus supplement included the following chart identifying each Series 2007-A Certificate rating27:




The Prospectus Supplements further stated language to the effect that:

                                                           Moody’s ratings on mortgage pass-through certificates address the likelihood of the receipt
                                                           by certificate holders of all distributions to which such certificateholders are entitled.
                                                           Moody’s ratings opinions address the structural and legal issues associated with the Offered
                                                           Certificates, including the nature of the underlying Mortgage Loans. S&P ratings on
                                                           mortgage pass-through certificates address the likelihood of receipt by certificateholders of
                                                           payments required under the operative agreements.

                                                           S&P’s ratings take into consideration the credit quality of the mortgage pool including credit
                                                           support providers, structural and legal aspects associated with the certificates, and the extent
                                                           to which the payment stream of the mortgage pool is adequate to make payments required
                                                           under the certificates.28



                                                           68.                                                        According to the Complaint, the above and similar statements regarding underwriting

standards, loan-to-value ratio, collateral appraisals, and credit ratings are untrue or omitted material facts

because (1) Merrill Lynch and third-party originators disregarded stated underwriting standards or failed to
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
27
              Merrill Lynch First Franklin Mortgage Loan, Trust Series 2007-A, at S-89, 90.
28
              See, for instance, Merrill Lynch First Franklin Mortgage Loan Trust, May 30, 2007 at S-124-5.




	                                                                                                                                                                                                                                                  22
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 24 of 43



follow loan purchasing guidelines when acquiring or issuing loans that were unlikely to be repaid; (2) issued

mortgages to buyers with higher-than-stated loan-to-value ratios; (3) issued mortgages based on collateral

appraisals that overinflated the value of the underlying properties or appraisals that were invalid or

incomplete; and (4) provided credit ratings that were based on outdated assumptions, relaxed ratings criteria,

and inaccurate loan information.29 According to the Complaint, the disregard for underwriting standards,

loan quality, and adequacy of collateral within the loans exposed purchasers to increased risk with respect to

absolute cash flow and the timing of payments.


                                                           69.                                                        I have been asked by Plaintiffs’ Counsel to provide my expert opinion with respect to the

following points: (1) Whether the securities in each offering are interrelated; (2) Whether untrue statements

and material omissions in the offering documents would similarly affect the securities in each offering; (3)

Whether there are numerous investors in the proposed class; and (4) Whether the securities can be valued and

whether damages to members of the class can be measured. In conducting my analysis, I reviewed documents

produced to date in this action as well as other materials.30 I reserve the right to supplement my analysis in

response to any newly produced evidence or facts or in rebuttal to any opinions offered by defendants’

experts.


                                                                                        a.                            The Interrelatedness of the Securities in Each Offering

                                                           70.                                                        The nature of mortgage-backed securities generally, and these Offerings specifically, is that

each of the securities within an offering represents a claim on the cash flows of the underlying collateral. The

nature of each of those claims is, therefore, undoubtedly interrelated. The relevant cash flows from the

collateral are in two forms – interest and principal payments made by the mortgage-holders. The cash flows

are directed to investors based on pre-determined formulas explained in the offering documents. The basis of

distinction among the different securities within an offering is merely the level of risk that each bears.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
29           See, e.g., Complaint, paragraphs 8, 82, 85, 107, 109-115, 116- 121, 127, 154, 156-161, 165, 173-186, 193-206, etc.
30           See Appendix B for a full list of materials reviewed.




	                                                                                                                                                                                                                                                  23
                              Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 25 of 43



                                                          71.                                                        The offering documents clearly describe how risk is divided among the different securities.

Each offering is comprised of senior securities (Class A) and subordinated securities (Class M and B).

Payments from the underlying mortgages (including prepayments of principal) flow first to the senior

securities and then flow down to the subordinated securities in their order of subordination. On the other

hand, losses are allocated first to the most subordinated security and then flow up through the subordinated

securities to the senior securities. As made clear on page S-5 of the Merrill Lynch Mortgage Investors 2006-

A1 prospectus supplement, “If the mortgage loans in a pool experience losses, then the principal amount of

the subordinate class of certificates that is lowest in seniority and still outstanding will be reduced by the

amount of those losses until the total outstanding principal balance of such class equals zero.”31 In this way,

the subordinated securities assume more of the credit risk and the senior securities assume more of the

prepayment risk. However, all the securities retain related credit risk and prepayment risk.


                                                          72.                                                        The risks borne by the holder of a particular security are therefore a function of the

corresponding risks of the underlying mortgages. As an example, credit risk is always highest for the more

subordinated securities in the offering. As losses are realized, the extent to which the more senior securities

are exposed to credit risk increases, and all else equal, this adversely impacts the market value of these

securities. That is to say, losses/prepayments do not have to flow through to a given security to affect the

value of that security – as long as they are of a magnitude that was not expected, all securities in the offering

will be affected. In this way, all the securities in an offering are interrelated.


                                                          73.                                                         As explained above, all cash flows to the different securities are based on the performance of

the same underlying collateral – the pool of residential mortgage loans. To the extent that there are untrue

statements and/or material omissions in the offering documents, all securities in the offering will be adversely

affected.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
31           Merrill Lynch Mortgage Investors Trust, Series 2006-A1 Prospectus Supplement, at S-5.




	                                                                                                                                                                                                                                                  24
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 26 of 43



                                                           74.                                                        It stands to reason that securities that have more credit enhancement (i.e., are more insulated

from losses due to default) will be less affected by a repricing of the credit risk, but they will clearly be

affected directionally the same way as those securities that have less credit enhancement. Nonetheless, such

differences are a matter of degree rather than substance, as the substantial source of the losses regardless of

degree exists in the same underwriting consistency and homogeneity relied upon to derive the properties that

support the structure and pricing of each securitization.


                                                                                        b.                            Untrue Statements and Material Omissions in the Offering Documents Affect the Securities
                                                                                                                      Similarly Within Each Offering

                                                           75.                                                        In this section I first describe how the securitization offering documents are nearly identical.

Then, I show that the underwriting processes and procedures approved for securitized loans by Merrill Lynch

and at all times under their direct oversight and/or control were a primary feature in every prospectus in

efforts to achieve the loan pool homogeneity and consistency necessary to support securitization. As

discussed above, consistent and homogenous loans produced according to proper controls and accurately

disclosed are crucial to securitization.


                                                                                                                                            The Securitization Offering Documents

                                                           76.                                                        Each prospectus supplement contains a section called “Relevant Parties” or “Transaction

Parties,” which lists the relevant parties to the transaction. In each of those, either First Franklin Financial

Corporation or Merrill Lynch Mortgage Lending is listed as the sponsor, who is supposed to bring together

like loans for securitization. Merrill Lynch Mortgage Investors is listed as depositor for each and every deal.

Merrill Lynch PFS acted as an underwriter for each of the offerings at issue in this action, helping to structure

the securities and credit enhancement to absorb the risk of the loans in a manner reflective of the target credit

quality of the certificates. One or more of these entities conducted due diligence on the mortgage loans

acquired from loan sellers.32 Such involvement supports my assertion that the important economic sources

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
32
  See Merrill Lynch Alternative Note Asset Trust, Series 2007-A3, at S-41; Merrill Lynch Mortgage Investors Trust,
Series 2006-A1 at S-23; Merrill Lynch Alternative Note Asset Trust, Series 2007-F1 at S-32; Merrill Lynch Alternative
Note Asset Trust, Series 2007-AF1 at S-39; Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2 at S-31;
Merrill Lynch Mortgage Investors Trust, Series 2006-FM1 at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-
	  


	                                                                                                                                                                                                                                                  25
     Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 27 of 43



of Untrue Statements and Material Omissions lie at the level of Merrill Lynch and named Defendants and

those statements and omissions affect all securities similarly.


           77.    All the prospectus supplements indicate that “…information concerning the Sponsor’s prior

residential mortgage loan securitizations involving [similar] loans is available on the internet at

http://www.mlabsreports.ml.com” (or substantially similar language).33 While the supplements indicate that

“[t]here can be no assurance” that “the delinquency and foreclosure experience” of the Issuing Entity’s

mortgage Loans “will be similar” or “will correspond” to that which was reflected in the Servicer’s Static Pool

Information,34 the static pool information is the only source of information regarding historical delinquency,

cumulative loss and prepayment experience of the Sponsor’s prior residential mortgage loan securitization

and is a key element of establishing a reputation for consistency and homogeneity across time, which reduces

substantially the lemon’s discount investors would otherwise apply to the certificates sold to securitize the

loans.35


           78.    All of the offering documents are generally in a similar format and their language describing

possible features of the securitizations is very similar. The offering documents for the Merrill Lynch MBS


FF1 at S-39; Merrill Lynch Mortgage Investors Trust, Series 2006-RM5 at S-39; Merrill Lynch Mortgage Investors Trust,
2006-RM3 at S-37; Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1 at S-38; Merrill Lynch Mortgage
Investors Trust, Series 2006-AHL1 at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-WMC1 at S-43; Merrill
Lynch Mortgage Investors Trust, Series 2006-WMC2 at S-44; and Ownit Mortgage Loan Trust, Series 2006-2, at S-33.
33 See, for instance, Merrill Lynch Alternative Note Asset Trust , Series 2007-F1 prospectus supplement dated March 28,

2007 at S-43. The URL was subsequently changed, and this data is now hosted on the Bank of America website at
http://www.bankofamerica.com/rmbs.
34
   See Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-42; Merrill Lynch First Franklin Mortgage
Loan Trust, Series 2007-3, at S-41; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-42; Merrill
Lynch First Franklin Mortgage Loan Trust, Series 2007-A, at S-34.
35
   Belying the disclaimers in the prospectus, the SEC commented in the consideration of Regulation AB that mandated
disclosure of such information, that, “In the Proposing Release, we noted the development of static pool information as
an increasingly valuable tool in analyzing performance. Such information indicates how the performance of groups, or
static pools, of assets, such as those originated at different intervals, are performing over time. By presenting
comparisons between originations at similar points in the assets’ lives, such data allow the detection of patterns that may
not be evident from overall portfolio numbers and thus may reveal a more informative picture of material elements of
portfolio performance and risk. (Securities and Exchange Commission 17 CFR Parts 210, 228, 229, 230, 232, 239, 240,
242, 245 and 249, [Release Nos. 33-8518; 34-50905; File No. S7-21-04], RIN 3235-AF74, Asset-Backed Securities at 129,
available at www.sec.gov/rules/final/33-8518.pdf. See also, e.g., Moody’s Investors Service, Inc., “Undisclosed Truths:
Are ABS Investors Being Left in the Dark?” May 23, 1996 and Letter from AIMR to Brian J. Lane, Director, Division of
Corporation Finance, “Recommendations for a Disclosure Regime for Asset-Backed Securities” Sep. 30, 1996.)



                                                            26
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 28 of 43



referenced in the present Complaint make available to the deals the typical types of credit enhancement

structures described above. For example, five prospectuses were issued in connection with the Offerings at

issue. Each described the credit enhancements potentially available to a particular offering and state that, “If

so provided in the related Prospectus Supplement, partial or full protection against certain defaults and losses

on the Assets in the related Trust Fund may be provided to one or more classes of Securities in the related

series in the form of subordination of one or more other classes of Securities in such series and/or by one or

more other types of credit support, such as a letter of credit, insurance policy, surety bonds, guarantee,

reserve fund or a combination thereof.”36


                                                           79.                                                        Each prospectus supplement described in further detail the particular credit enhancements

applicable to each offering. Each of the Offerings had credit enhancement in the form of subordination. The

tranche structure of is a senior-subordinate structure, with layers of subordinate bonds underlying the senior

A-class. Fourteen deals had overcollateralization/excess interest features and four had shifting interest

structures.37 In addition, as described further below, fifteen of the Offerings contained elements of “Y” cross-

collateralization features and two of the Offerings contained elements of “H” cross-collateralization features.

One of the Offerings had interest rate support for one tranche through a certificate guaranty insurance policy

with a third party.38 All of the loan pools still derive their performance from a singular set of processes and

procedures implemented for internal underwriting, external underwriting, or acquisition by the securitization

sponsor (Merrill Lynch Mortgage Lending or First Franklin Financial Corporation) and certified by the

associated securities underwriters and rating agencies associated with each deal.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
36 See Merrill Lynch Alternative Note Asset Trust, Series 2007-F1 prospectus, at 12.
37 See Merrill Lynch Mortgage Investors Trust, Series 2006-A1, Merrill Lynch Alternative Note Asset Trust, Series 2007-
F1, Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, and Merrill Lynch Mortgage Investors Trust, Series
MLCC 2006-2 at S-1, and Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-3, Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, Merrill Lynch
First Franklin Mortgage Loan Trust, Series 2007-A, Merrill Lynch Mortgage Investors Trust, Series 2006-FM1, Merrill
Lynch Mortgage Investors Trust, Series 2006-FF1, Merrill Lynch Mortgage Investors Trust, Series 2006-RM5, Merrill
Lynch Mortgage Investors Trust, 2006-RM3, Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1, Merrill Lynch
Mortgage Investors Trust, Series 2006-AHL1, Merrill Lynch Mortgage Investors Trust, Series 2006-WMC1, Merrill
Lynch Mortgage Investors Trust, Series 2006-WMC2, Merrill Lynch Alternative Note Asset Trust, Series 2007-A3, and
Ownit Mortgage Loan Trust, Series 2006-2, at S-1, respectively.
38 See Merrill Lynch Mortgage Investors prospectus supplement Series 2006-WMC1 at S-10.




	                                                                                                                                                                                                                                                  27
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 29 of 43



                                                                                                                                            Loan Underwriting

                                                           80.                                                        No matter what the origination channel, underwriting processes and procedures are meant

to ensure sufficient consistency and homogeneity exists to support securitization.


                                                           81.                                                        In one deal, Merrill Lynch First Franklin Mortgage Loan Trust, 2007-A (FFMER 2007-A),

“All of the Mortgage Loans were originated generally in accordance with First Franklin Financial’s

Underwriting Guidelines.” (p. 28, S-28-29) under its CORE program, which was at all times in the direct

control of Merrill Lynch.


                                                           82.                                                        In three deals, the loans were underwritten subject to Merrill Lynch’s “Direct Access

Program,” in which third-party originators underwrote the loans according to Merrill Lynch’s own

underwriting model and guidelines, which were also at all times in the direct control of Merrill Lynch.39


                                                           83.                                                        Even where originators originated loans to their own underwriting standards, such

originators, their origination processes and procedures, and their loans were supposed to be monitored and

screened by Merrill Lynch’s for conformity with underwriting standards sufficient to support securitization.

For instance, the prospectus supplements state that Merrill Lynch conducted due diligence on the mortgage

loans acquired from loan sellers and that “[t]he scope of the mortgage loan due diligence varies based on the

credit quality of the mortgage loans.”40 In addition, language in many of the prospectus states: “The

underwriting guideline review entails a review of the mortgage loan origination processes and systems. In

addition, such review may involve a consideration of corporate policy and procedures relating to state and




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
39
   Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-35; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-3, at S-36; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-36.
40
   See Merrill Lynch Alternative Note Asset Trust, Series 2007-A3, at S-41; Merrill Lynch Mortgage Investors Trust,
Series 2006-A1 at S-23; Merrill Lynch Alternative Note Asset Trust, Series 2007-F1 at S-32;Merrill Lynch Alternative
Note Asset Trust, Series 2007-AF1 at S-39; Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2 at S-31;
Merrill Lynch Mortgage Investors Trust, Series 2006-FM1 at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-
FF1 at S-39; Merrill Lynch Mortgage Investors Trust, Series 2006-RM5 at S-39; Merrill Lynch Mortgage Investors Trust,
2006-RM3 at S-37; Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1 at S-38; Merrill Lynch Mortgage
Investors Trust, Series 2006-AHL1 at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-WMC1 at S-43; Merrill
Lynch Mortgage Investors Trust, Series 2006-WMC2 at S-44; and Ownit Mortgage Loan Trust, Series 2006-2, at S-33.




	                                                                                                                                                                                                                                                  28
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 30 of 43



federal predatory lending, origination practices by jurisdiction, historical loan level loss experience, quality

control practices, significant litigation and/or material investors.”41


                                                           84.                                                        Additional language in the many of the prospectus supplements states that originators

reportedly face initial qualification hurdles before they can sell loans to Merrill Lynch as well as ongoing

monitoring constraints. “Prior to acquiring any residential mortgage loans, MLML reserves the right to

conduct a review of the related mortgage loan seller that is based upon the credit quality of the selling

institution. MLML’s review process may include reviewing select financial information for credit and risk

assessment and conducting an underwriting guideline review, senior level management discussion and/or

background checks.”42


                                                           85.                                                        As presented above, eight of the prospectuses (including those underwritten to Merrill

Lynch’s own standards) maintained that loan reviews were used “to confirm the existence and accuracy of

credit documentation, appraisal analysis and underwriting decision. A report detailing audit findings and level

of error is sent monthly to each branch for response. The audit findings and branch responses must then be

reviewed by the third party originator’s senior management. Adverse findings are to be tracked monthly and

over a rolling six month period. This review procedure allows the third party originator to assess programs

for potential guideline changes, program enhancements, appraisal policies, areas of risk to be reduced or

eliminated and the need for additional staff training” (or substantially similar language).43


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
41 See for example, prospectus supplement for Merrill Lynch Alternative Note Asset Trust, Series 2007-F1, at S-31.
42
   Merrill Lynch Alternative Note Asset Trust, Series 2007-A3, at S-41; Merrill Lynch Alternative Note Asset Trust,
Series 2007-AF1, at S-39; Merrill Lynch Alternative Note Asset Trust, Series 2007-F1, at S-32; Merrill Lynch Mortgage
Investors Trust, Series 2006-MLN1, at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-FM1, at S-38; Merrill
Lynch Mortgage Investors Trust, Series 2006-FF1, at S-39; Merrill Lynch Mortgage Investors Trust, Series 2006-RM5, at
S-39; Merrill Lynch Mortgage Investors Trust, Series MLCC 2006-2, at S-31; Merrill Lynch Mortgage Investors Trust,
Series 2006-AHL1, at S-38; Merrill Lynch Mortgage Investors Trust, Series 2006-RM3, at S-36,37; Merrill Lynch
Mortgage Investors Trust, Series 2006-WMC1, at S-43; Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2, at
S-44; Merrill Lynch Mortgage Investors Trust, Series 2006-A1, at S-23; Ownit Mortgage Loan Trust, Series 2006-2, at S-
33.
43 Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-37; Merrill Lynch First Franklin Mortgage Loan

Trust, Series 2007-3, at S-38; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-38; Merrill Lynch
First Franklin Mortgage Loan Trust, Series 2007-A, at S-31; Merrill Lynch Mortgage Investors Trust, Series 2006-FM1,
at S-36; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-38; Merrill Lynch Mortgage Investors Trust,
Series 2006-RM5, at S-37; Merrill Lynch Mortgage Investors Trust, 2006-RM3, at S-35.




	                                                                                                                                                                                                                                                  29
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 31 of 43



                                                           86.                                                        The eight deals with the loan review language in the preceding paragraph, also included

language to the effect that, “[originators] are required to conduct a number of quality control procedures,

including a post funding compliance audit as well as a full re-underwriting of a random selection of loans to

assure asset quality. Under the asset quality audit, all loans are required to be reviewed to verify credit

grading, documentation compliance and data accuracy. Under the asset quality procedure, a random selection

of each month’s originations must be reviewed by each [originator or its senior management].”44 Every

prospectus contained language giving Merrill Lynch the rights and ability to review extensively the quality

control processes, procedures, and outcomes of the originating lenders to varying degrees.


                                                           87.                                                        As presented above, prospectuses for seven deals stated specifically that loans were

originated, “…with a view toward the resale of the mortgage loans in the secondary mortgage market,”45 or

“…underwritten to be eligible to be sold in the secondary market,” 46 suggesting that they were selected with

an eye toward the consistency and homogeneity necessary for securitization.


                                                           88.                                                        Hence, Merrill Lynch represented that it took steps to monitor loan underwriting for the

type of consistency and homogeneity that could support securitization according to the originator’s

underwriting standards. In my opinion, the language giving the appearance of consistent underwriting

processes and procedures across origination channels purposefully suggests a level of consistent homogeneity

that can be relied upon to derive stable senior and subordinate securities that can withstand a wide variety of

credit scenarios – a “bulletproof” offering.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
44 Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-37; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-3, at S-38; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-38; Merrill Lynch
First Franklin Mortgage Loan Trust, Series 2007-A, at S-31; Merrill Lynch Mortgage Investors Trust, Series 2006-FM1,
at S-36; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-38; Merrill Lynch Mortgage Investors Trust,
Series 2006-RM5, at S-37; Merrill Lynch Mortgage Investors Trust, 2006-RM3, at S-35.
45
   Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-34; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-3, at S-35; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, at S-35; Merrill Lynch
Mortgage Investors Trust, Series 2006-FM1, at S-34; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-36.
46
   Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, at S-47,48, and Merrill Lynch Mortgage Investors Trust,
Series 2006-MLN1, at S-37.




	                                                                                                                                                                                                                                                  30
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 32 of 43



                                                                                        c.                            Numerosity

                                                           89.                                                        Investors in the private-label MBS market include a wide variety of institutions and

individuals, including, “… institutions of all sizes: corporations, commercial banks, life insurance companies,

pension funds, trust funds, and charitable endowments. In recent years, individual investors have also become

increasingly active in the mortgage securities market.”47


                                                           90.                                                        In addition to purchasing in the offering market, mortgage-backed securities trade in a well-

organized long-established OTC market. According to data from the Securities Industry Financial Markets

Association, annual issuance of private-label mortgage backed securities peaked in 2006 at $917 billion, which

was about the same level as agency MBS that year ($925 billion). While there is no one single source for

private-label MBS OTC secondary market trading volumes, average daily trading volume in agency mortgage

backed securities was $359.3 billion in December 2010.48


                                                           91.                                                        Securities are issued in book entry form through The Depository Trust Company (DTC).

According to the language in the prospectus, “DTC is a limited purpose trust company organized under the

laws of the State of New York, a member of the Federal Reserve System, a “clearing corporation” within the

meaning of the New York Uniform Commercial Code and a “clearing agency” registered pursuant to Section

17A of the Securities Exchange Act of 1934, as amended.”49




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
47 Bond Market Association at www.freddiemac.com/mbs/docs/about_MBS.pdf
48 See the Securities Industry Financial Markets Association web page at http://www.sifma.org/research/statistics.aspx.
49 See Merrill Lynch Mortgage Investors Trust, Series 2006-A1, Merrill Lynch Alternative Note Asset Trust, Series 2007-

F1, Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, and Merrill Lynch Mortgage Investors Trust, Series
MLCC 2006-2 , Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, Merrill Lynch First Franklin Mortgage
Loan Trust, Series 2007-3, Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-4, Merrill Lynch First Franklin
Mortgage Loan Trust, Series 2007-A, Merrill Lynch Mortgage Investors Trust, Series 2006-FM1, Merrill Lynch Mortgage
Investors Trust, Series 2006-FF1, Merrill Lynch Mortgage Investors Trust, Series 2006-RM5, Merrill Lynch Mortgage
Investors Trust, 2006-RM3, Merrill Lynch Mortgage Investors Trust, Series 2006-AHL1, Merrill Lynch Mortgage
Investors Trust, Series 2006-WMC1, Merrill Lynch Mortgage Investors Trust, Series 2006-WMC2, Merrill Lynch
Alternative Note Asset Trust, Series 2007-A3, Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1, and Ownit
Mortgage Loan Trust, Series 2006-2, at 28.




	                                                                                                                                                                                                                                                  31
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 33 of 43



                                                           92.                                                        DTC holds securities for its participating members (“DTC Participants”) and facilitates the

clearing and settlement of those securities in transactions among DTC Participant members. DTC

Participants include “securities brokers and dealers, …banks, trust companies and clearing corporations.”50


                                                           93.                                                        Non-participant investors can only obtain indirect access to the DTC system by maintaining

a custodial relationship with a DTC Participant, either directly or through another related entity or a

correspondent relationship. “Beneficial Owners who are not Participants may transfer ownership of Book-

Entry Certificates only through Participants and Indirect Participants by instructing... Participants and

Indirect Participants…” to transfer across DTC on their behalf. 51


                                                           94.                                                        Hence, ownership records of the DTC will only list Participant institutions. While

Participants may be Beneficial Owners of some of the securities registered in their name, other securities

registered in the Participant’s name will be registered on behalf of downstream-related entities and

correspondents. The relationships are clear in the prospectus language regarding payment of cash flows to the

Beneficial Owners: “Distributions on the Book-Entry Certificates will be made on each Distribution Date to

Cede, as nominee of DTC. DTC will be responsible for crediting the amount of such payments to the

accounts of the applicable DTC Participants in accordance with DTC’s normal procedures. Each DTC

Participant will be responsible for disbursing such payments to the Beneficial Owners of the Book-Entry

Certificates that it represents and to each Financial Intermediary for which it acts as agent. Each such




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
50 Id.
51 See Merrill Lynch Mortgage Investors Trust, Series 2006-A1, at S-38; Merrill Lynch Alternative Note Asset Trust,
Series 2007-F1, at S-52; Merrill Lynch Alternative Note Asset Trust, Series 2007-AF1, at S-69; Merrill Lynch Mortgage
Investors Trust, Series MLCC 2006-2 at S-59; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-2, at S-54;
Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-3, at S-55; Merrill Lynch First Franklin Mortgage Loan
Trust, Series 2007-4, at S-55; Merrill Lynch First Franklin Mortgage Loan Trust, Series 2007-A, at S-47; Merrill Lynch
Mortgage Investors Trust, Series 2006-FM1, at S-56; Merrill Lynch Mortgage Investors Trust, Series 2006-FF1, at S-55;
Merrill Lynch Mortgage Investors Trust, Series 2006-RM5, at S-56; Merrill Lynch Mortgage Investors Trust, 2006-RM3,
at S-53; Merrill Lynch Mortgage Investors Trust, Series 2006-MLN1, at S-57; Merrill Lynch Mortgage Investors Trust,
Series 2006-AHL1, at S-56; Merrill Lynch Mortgage Investors Trust, Series 2006-WMC1, at S-59; Merrill Lynch
Mortgage Investors Trust, Series 2006-WMC2, at S-59; Merrill Lynch Alternative Note Asset Trust, Series 2007-A3, at S-
66; Ownit Mortgage Loan Trust, Series 2006-2, at S-46.




	                                                                                                                                                                                                                                                  32
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 34 of 43



Financial Intermediary will be responsible for disbursing funds to the Beneficial Owners of the Book-Entry

Certificates that it represents.”52


                                                           95.                                                        I have reviewed data provided by 13 entities on holdings of and trades in securities of the

Offerings in the proposed class.53 My analysis shows that there were, in fact, numerous investors in the

Offerings. Conservatively, the cumulative number of individual investors exceeds 1,600. The numbers

presented below are in all cases minimum estimates based on the limited data available to date. Discovery

continues from large institutional clearing firms including J.P. Morgan Securities, Inc. and Credit Suisse

Securities (USA) LLC, which can be expected to significantly increase the numbers of investors derived

below.


                                                                                                                       Table 2: Minimum Number of Investors Established in each Offering
                                                                                                                            Based on Discovery Materials (rounded to the lowest ten)
                                                                                                                     Offering                           Minimum Number of Investors
                                                                                                                     MLMIT 2006-A1                                           >150
                                                                                                                     MLMIT 2006-AHL1                                         >60
                                                                                                                     MLMIT 2006-FF1                                          >160
                                                                                                                     MLMIT 2006-FM1                                          >40
                                                                                                                     MLMIT 2006-MLN1                                         >110
                                                                                                                     MLMIT 2006-RM3                                          >80
                                                                                                                     MLMIT 2006-RM5                                          >70
                                                                                                                     MLMIT 2006-WMC1                                         >120
                                                                                                                     MLMIT 2006-WMC2                                         >130
                                                                                                                     MLMIT MLCC 2006-2                                       >60
                                                                                                                     MLANAT 2007-A3                                          >30*
                                                                                                                     MLANAT 2007-AF1                                         >50
                                                                                                                     MLANAT 2007-F1                                          >50
                                                                                                                     MLFFMLT 2007-2                                          >90
                                                                                                                     MLFFMLT 2007-3                                          >100
                                                                                                                     MLFFMLT 2007-4                                          >100
                                                                                                                     MLFFMLT 2007-A                                          >50
                                                                                                                     OWNIT 2006-2                                            >200
                                                                                                              * So far, I have established that there exist at least 36 investors in MLANAT 2007-A3.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
52 Merrill Lynch Mortgage Investors Trust, Series 2006-FF1 prospectus supplement at S-57.
53 The data I reviewed were provided by: Alliance Bernstein, Barclays Capital, Bank of New York Mellon, Brown
Brothers Harriman, Cantor Fitzgerald, Charles Schwab, DTCC, Merrill Lynch, Mesirow Financial, NFS, Raymond
James, RBC and State Street Corporation. My estimates of the number of distinct investors consider holdings of and
trades in securities from the date of each offering through February 15, 2009.




	                                                                                                                                                                                                                                                  33
                               Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 35 of 43



                                                           96.                                                        It is important to note that my estimates of the number of distinct investors are quite

conservative. I relied solely on the lowest-level account records in all instances in order to avoid double-

counting. When the lowest-level accounts were not identifiable entities, I did not count those records as

investors. For example, some of the production yielded, to date, ownership data for which the account names

were not provided. Those records, though likely representing additional investors, were excluded from my

analysis because I could not be certain that they represented investors who were not already counted. Hence,

the actual number of investors per offering even based on existing data production is likely to be significantly

greater than the amounts in the table above. However, even the numbers above show that these securities

were widely held and there are already numerous identifiable different members of the proposed class.


                                                           97.                                                        The data I reviewed also show that there is a wide range in the size of transactions, with

some transactions for as little as 10,000 units and others for hundreds of millions of units. In addition, the

investors are from all over the country – from New York to California, Texas, Wisconsin, Wyoming, and

Hawaii. Transaction records in the data include individual investors as well as institutional investors.


                                                                                        d.                            The Securities Can be Valued at Different Points in Time and Damages to the Members of
                                                                                                                      the Class Can be Measured

                                                           98.                                                        Section 11(e) of the Securities Act sets forth the method for calculating damages for

violation of Section 11 (a). It states, in relevant part:


                                                           The suit authorized under subsection (a) may be to recover such damages as shall represent
                                                           the difference between the amount paid for the security (not exceeding the price at which
                                                           the security was offered to the public) and (1) the value thereof as of the time such suit was
                                                           brought, or (2) the price at which such security shall have been disposed of in the market
                                                           before suit, or (3) the price at which such security shall have been disposed of after suit but
                                                           before judgment if such damages shall be less than the damages representing the difference
                                                           between the amount paid for the security (not exceeding the price at which the security was
                                                           offered to the public) and the value thereof as of the time such suit was brought …54

                                                           	  



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
54            15 U.S.C. § 77k(e)




	                                                                                                                                                                                                                                                  34
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 36 of 43



         99.      There are many ways in which the securities that make up these Offerings can be valued at

different points in time. The most straightforward way to value the securities is to observe prices paid in

market transactions, particularly those driven by indicative bids in the marketplace. Indicative prices are

effectively prices at which securities are offered for sale or purchase, typically by broker/dealers.


         100.     Yet another way to value the securities is to model the expected cash flows from the

underlying collateral and the way those expected cash flows translate into cash flows for security-holders. The

main components of such a modeled price are an interest rate model, a prepayment model, and a default

model. The interest rate model primarily affects the likelihood of prepayment (i.e., if interest rates go down,

mortgage-holders are more likely to refinance their mortgage which involves a full prepayment of the existing

mortgage), but it also has some effect on default risk, especially for adjustable rate mortgages (i.e., when rates

are higher, the effective rate on adjustable rate mortgages that are not in their fixed term will be higher,

leading to a greater likelihood of default).


         101.     Independent third parties, such as Interactive Data Corporation, regularly keep track of and

model prices of securities like those in the Offerings.


         102.     Damages to each of the class members can be calculated in a formulaic manner. As

mentioned above, values can be used to calculate losses to each class member.




Executed this 22nd day of March, 2011,



                                                                      ______________________

                                                               Joseph R. Mason, Ph.D.

                                                               	  




	                                                        35
 Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 37 of 43



                   APPENDIX A: PUBLICATIONS IN PAST TEN YEARS AND

                                   TESTIMONY IN PAST FOUR YEARS


EXPERT WITNESS TESTIMONY:
MBIA Insurance Corporation v. Patriarch Partners VIII, LLC and LD Investments, LLC. United
   States District Court Southern District of New York, Case No. 09 Civ. 3255 (RWS). (Deposed
   November 2010.)
The Charlotte-Mecklenburg Hospital Authority v. Wachovia Global Securities Lending and
    Metropolitan West Securities LLC. North Carolina General Court of Justice, Superior Court
    Division, 08 CVS 2779. (Deposed June 2010.)
J. Gallagher, Trustee for Spiegel Creditor Trust vs. KPMG, LLP. Circuit Court Of Cook County,
     Illinois, County Department, Law Division, Case No. 05 L 3030 Judge McGrath. (Deposed
     2008.)
Lumpkin v. Farmers Group, Inc., No. 05-2868 MAV (W.D. Tenn. 2005) (Deposed 2008.)
McKenzie et al vs. Southern Casualty Insurance Company . United States District Court for the
   Northern District of Mississippi, Western Division, Case No. 3:06cv013-B-A 2007. (Deposed
   2007.)
PUBLISHED CONGRESSIONAL, REGULATORY TESTIMONY, AND BRIEFS:
Testimony before the House of Representatives, Committee on Energy and Commerce, Subcommittee on Energy and Power, “The
      American Energy Initiative,” (March 17, 2011)
Testimony before the House of Representatives Committee on the Judiciary, “Foreclosed Justice: Causes and Effects of the
      Foreclosure Crisis,” (December 2, 2010).
Testimony before the Senate Committee on Small Business and Entrepreneurship, “The Deepwater Drilling Moratorium: A
      Second Economic Disaster for Small Businesses,” (July 27, 2010).
Testimony before the House Financial Services Committee, Subcommittee on Capital Markets, Insurance, and Government
      Sponsored Enterprises, “Credit Default Swaps on Government Debt: Potential Implications of the Greek
      Debt Crisis,” (April 29, 2010).
Testimony before the Senate Committee on the Judiciary, Subcommittee on Administrative Oversight and the Courts, “Could
      Bankruptcy Reform Help Preserve Small Business Jobs,” (March 17, 2010).
Testimony before the United States Senate Energy & Natural Resources Committee, “The Economic Policy Risks of Cap
      and Trade Markets for Carbon Emissions,” (September 15, 2009).
Testimony before the United States House of Representatives, Committee on the Judiciary, The Subcommittee on Commercial and
      Administrative Law, “Role of the Lending Industry in the Home Foreclosure Crisis,” (September 9, 2009).
Testimony before the Congress of the United States Joint Economic Committee, “Current Trends in Foreclosure and What
      More Can Be Done To Prevent Them.” (July 28, 2009).
Robert Litan, Joseph Mason, and Ian Ayres as Amici Curiae Supporting Petitioners, on Writ of Certiorari to the
     United States Court of Appeals for the Seventh Circuit, in the Supreme Court of the United States, Jerry N. Jones,
     Mary F. Jones, and Arline Winerman, Petitioners, v. Harris Associates L.P., Respondent. June 17, 2009.
Testimony before the Congress of the United States Joint Economic Committee, “Restoring the Economy: Strategies for
      Short-term and Long-term Change,” (February 26, 2009).
Testimony before the European Parliament, Economic and Monetary Affairs Committee, “Workshop on the Credit Rating
      Agencies,” (December 4, 2008, Brussels).


	                                                                36
 Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 38 of 43



Testimony before the United States Senate Committee on Banking, Housing, and Urban Affairs, Subcommittee on Securities,
      Insurance, and Investments, “Transparency in Accounting: Proposed Changes to Accounting for Off-balance
      Sheet Entities” (September 18, 2008).
Testimony before the United States Senate Judiciary Committee on the Judiciary, “The Looming Foreclosure Crisis: How
      to Help Families Save Their Homes, “(December 5, 2007).
Testimony before the United States House of Representatives Committee on Financial Services, Subcommittee on Capital
      Markets, Insurance, and Government Sponsored Enterprises, “Hearing on the Role of Credit Rating
      Agencies in the Structured Finance Market,” (September 27, 2007).
Testimony before the Federal Reserve Board, “Hearing on the Home Equity Lending Market and Regulation under the
      Home Ownership and Equity Protection Act,” (June 13, 2007).
ACADEMIC PUBLICATIONS:
“’Blood and Treasure’: Exiting the Great Depression and Lessons for Today,” (with Kris Mitchener). Oxford
     Journal of Economic Policy, October 2010.
       “The Economic Impact of Eliminating Preemption of State Consumer Protection Laws,” (With Hal Singer
           and Rob Kulick), The University of Pennsylvania Journal of Business Law, Vol 12:3, 2010.
“Real Options Approach to Life Settlements Valuation,” (with Hal Singer) in Life Markets: Trading Mortality and
     Longevity Risk with Life Settlements and Linked Securities, Vishaal Bhuyan, ed. Wiley Finance, 2009, pp. 135-
     152.
       “Structuring for Leverage: CPDOs, SIVs, and ARSs,” in Prudent Lending Restored: Securitization after the
           2007 Mortgage Securities Meltdown, part of the Brookings-Wharton Series on Financial
           Intermediaries, Robert Litan, Richard Herring, and Yasuyuki Fuchita, eds. Washington, DC:
           Brookings Institution Press, 2009.
“The Evolution of the Reconstruction Finance Corporation as a Lender of Last Resort in the Great
    Depression,” in Bailouts and Government Rescues, Robert E. Wright, ed. New York:
    SSRC/Columbia University Press, 2009.
“Regulating for Financial System Development, Financial Institutions Stability, and Financial
    Innovation,” in Financial Market Regulation after Financial Crises: The Historical Experience, Gianni
    Toniolo and Eugene White, eds. 2009, Rome: Banca d’Italia.
“Cliff Risk and the Credit Crisis,” in The First Credit Market Turmoil of the 21st Century: Implications for
      Public Policy, Douglas Evanoff and George Kaufman, eds. World Scientific Studies in
      International Economics – Vol. 10. London: World Scientific Publishers Co. Pte. Ltd., 2009,
      pp. 141-160.
“Fundamentals, Panics and Bank Distress during the Depression,” (with Charles Calomiris). Financial Crises: The
    International Library of Critical Writings in Economics. Franklin Allen, ed. London: Edward Elgar Publishers
    2008.
“The Summer of ‘07 and the Shortcomings of Financial Innovation.” Journal of Applied Finance,
    Summer 2008.
“Resolving the Puzzle of the Underissuance of National Bank Notes.” (with Charles Calomiris).
    Explorations in Economic History, September 2008 (45:4), pp. 327-355.
“Herding Behavior in Chinese Stock Markets: An Examination of A and B Shares,” (with Tom
    Chiang, Edward Nelling, and Lin Tan). Pacific-Basin Finance Journal, January 2008 (16: 1-2), pp.
    61-77.




	                                                              37
 Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 39 of 43



“Positive performance and private equity placements: Outside monitoring or inside expertise?” (with
     D. Marciukaityte, E. Higgins, and H. S. Friday). Journal of Real Estate Portfolio Management (13: 4),
     pp. 389-399.
“A Real Options Approach to Bankruptcy Costs: Evidence from Failed Commercial Banks during
    the 1990s.” Journal of Business, July 2005 (79:3), pp. 1523-53.
“Bank Asset Liquidation and the Propagation of the Great Depression,” (with Ali Anari and James
    Kolari). Journal of Money, Credit, and Banking, August 2005 (37:4), pp. 753-773.
“Credit Card Securitization and Regulatory Arbitrage,” (with Charles Calomiris). Journal of Financial Services
     Research, August 2004 (26:1), pp. 5-27 (lead article).
“What is the Value of Recourse to Asset Backed Securities? A Study of Credit Card Bank ABS
   Rescues,” (with Eric Higgins). Journal of Banking and Finance, April 2004 (28:4), pp. 875-899.
“Fundamentals, Panics and Bank Distress during the Depression,” (with Charles Calomiris). American
    Economic Review, December 2003 (93:5), pp. 1615-1647.
“Too-big-to-fail, Government Bailouts, and Managerial Incentives: The Case of Reconstruction Finance
    Corporation Assistance to the Railroad Industry during the Great Depression,” (with Daniel Schiffman).
    In Too-Big-To Fail: Policies and Practices in Government Bailouts, Benton E. Gup, ed. Westport, CT:
    Greenwood Press, 2003, pp. 49-75.
“How to Restructure Failed Banking Systems: Lessons from the U.S. in the 1930s and Japan in the 1990s,”
    (with Charles Calomiris). In Privatization, Corporate Governance and Transition Economies in East Asia,
    Takatoshi Ito and Anne Krueger, eds. Chicago: University of Chicago Press 2004, pp. 375-420.
“Consequences of U.S. Bank Distress during the Great Depression.” (with Charles Calomiris). American
    Economic Review, June 2003 (93:3), pp. 937-947.
“The Political Economy of RFC Assistance during the Great Depression.” Explorations in Economic History, April
     2003 (40:2), pp. 101-121.
“Do Lender of Last Resort Policies Matter? The Effects of Reconstruction Finance Corporation Assistance to
    Banks.” Journal of Financial Services Research, September 2001 (20:1), pp. 77-95.
“Reconstruction Finance Corporation Assistance to Financial Institutions and Commercial &
    Industrial Enterprise in the US Great Depression, 1932 – 1937.” In Resolution of Financial Distress,
    Stijn Claessens, Simeon Djankov, and Ashoka Mody, eds. Washington: World Bank Press, 2001,
    pp. 167-204.
PROFESSIONAL PUBLICATIONS:
“CDS: Still Not Ready for Prime Time.” Commercial Lending Review, Fall 2008.
“A Real Options Approach to Valuing Life Settlements Transactions.” Journal of Financial Transformation,
     September 2008.
“Why ABS and CDO Ratings Substantially Differ from Corporate Bond Ratings.” Bank Structure and Competition
    Conference Proceedings. Chicago: Federal Reserve Bank of Chicago, May 2008.
“The (Continuing) Information Problems in Structured Finance.” Journal of Structured Finance. Spring
    2008, v. 14 no. 1, pp. 1-11 (lead article).
“Credit Card Securitization, Recourse, and Regulatory Arbitrage,” (with Eric Higgins and Charles Calomiris).
     Bank Structure and Competition Conference Proceedings. Chicago: Federal Reserve Bank of Chicago, May 2003,
     pp. 471-492.




	                                                           38
 Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 40 of 43



“A Real Options Approach to Bankruptcy Costs: Evidence from Failed Commercial Banks during the 1990s.”
     Bank Structure and Competition Conference Proceedings. Chicago: Federal Reserve Bank of Chicago, May 2002,
     pp. 108-128
“Causes of U.S. Bank Distress during the Great Depression,” (with Charles Calomiris). Bank Structure and
     Competition Conference Proceedings. Chicago: Federal Reserve Bank of Chicago, May 2001, pp. 530-554.
BOOK REVIEWS:
Review of “International Financial History in the Twentieth Century: System and Anarchy,” by Marc
     Flandreau, Carl-Ludwig Holtfrerich, and Harold James, eds. EH.net. February 2004.
Review of “Capital Flows and Crises,” by Barry J. Eichengreen. EH.Net. August 2003.
OTHER PUBLICATIONS:
“Savings Banks.” Dictionary of American Economic History, Charles Scribner’s & Sons: Boston,
     2002.




	                                                         39
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 41 of 43

	                                                    	                                                     	  


                            APPENDIX B: MATERIALS RELIED UPON


ACADEMIC LITERATURE

Akerloff George A., “The Market for Lemons: Quality Uncertainty and the Market Mechanism.” The
        Quarterly Journal of Economics, vol. 84, no. 3 (Aug 1970) pp. 488-500.asdf

Benveniste, Lawrence M. and Allen N. Berger (1987) “Securitization with Recourse: An Instrument that
       Offers Uninsured Bank Depositors Sequential Claims,” Journal of Banking and Finance, 11, 403-24.

Gorton, Gary B., and George G. Pennacchi, (1995). “Banks and Loan Sales Marketing Nonmarketable
        Assets,” Journal of Monetary Economics, 35, 389-411.

Hu, Jian; Cantor, Richard; Weill, Nicolas; and Phillip, Tad. “Deal Sponsor and Credit Risk of U.S. ABS and
        MBS Securities,” Moody’s Special Comment, December 2006.

Kendall, Leon T. “Securitization: A New Era in American Finance,” A Primer on Securitization, Leon T.
        Kendall, and Michael J. Fishman, eds. MIT Press, 1996, at 7.

Moody’s Investors Service, Inc., “Undisclosed Truths: Are ABS Investors Being Left in the Dark?” May 23,
       1996.

DISCOVERY MATERIALS

Documents produced by Defendant Merrill Lynch: ML00121477-1659.

Documents produced by non-party Alliance Bernstein.

Documents produced by non-party Barclays Capital: BARC000001 – 000015.

Documents produced by non-party Bank of New York Mellon.

Documents produced by non-party Brown Brothers Harriman.

Documents produced by non-party Cantor Fitzgerald.

Documents produced by non-party Charles Schwab.

Documents produced by non-party DTCC.

Documents produced by non-party Mesirow Financial.

Documents produced by non-party NFS.

Documents produced by non-party Raymond James: RJA-PublEmpl-ML-000001.

Documents produced by non-party RBC.

Documents produced by non-party State Street Corporation

SECURITES AND EXCHANGE COMMISSION FILINGS

Merrill Lynch Alternative Note Asset Series 2007-A3 Prospectus Supplement, dated April 30, 2007.


	                                                   40
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 42 of 43

	                                                   	                                                 	  


Merrill Lynch Alternative Note Asset Series 2007-AF1 Prospectus Supplement, dated June 1, 2007.

Merrill Lynch Alternative Note Asset Series 2007-F1 Prospectus Supplement, dated March 28, 2007.

Merrill Lynch First Franklin Mortgage Loan Series 2007-2 Prospectus Supplement, dated April 27, 2007.

Merrill Lynch First Franklin Mortgage Loan Series 2007-3 Prospectus Supplement, dated May 30, 2007.

Merrill Lynch First Franklin Mortgage Loan Series 2007-4 Prospectus Supplement, dated June 26, 2007.

Merrill Lynch First Franklin Mortgage Loan Series 2007-A Prospectus Supplement, dated September 7,
2007.

Merrill Lynch Mortgage Investors 2006-RM3 Prospectus Supplement, dated June 27, 2006.

Merrill Lynch Mortgage Investors Series 2006-A1 Prospectus Supplement, dated March 29, 2006.

Merrill Lynch Mortgage Investors Series 2006-AHL1 Prospectus Supplement, dated June 29, 2006.

Merrill Lynch Mortgage Investors Series 2006-FF1 Prospectus Supplement, dated December 22, 2006.

Merrill Lynch Mortgage Investors Series 2006-FM1 Prospectus Supplement, dated June 29, 2006.

Merrill Lynch Mortgage Investors Series 2006-MLN1 Prospectus Supplement, dated September 28, 2006.

Merrill Lynch Mortgage Investors Series 2006-RM5 Prospectus Supplement, dated October 27, 2006.

Merrill Lynch Mortgage Investors Series 2006-WMC1 Prospectus Supplement, dated February 14, 2006.

Merrill Lynch Mortgage Investors Series 2006-WMC2 Prospectus Supplement, dated March 28, 2006.

Merrill Lynch Mortgage Investors Series MLCC 2006-2 Prospectus Supplement, dated April 27, 2006.

Ownit Mortgage Loan Series 2006-2 Prospectus Supplement, dated March 7, 2006.

Merrill Lynch Mortgage Investors Prospectus, dated January 18, 2006.

Merrill Lynch Mortgage Investors Prospectus, dated March 31, 2006.

Merrill Lynch Mortgage Investors Prospectus, dated September 8, 2006.

Merrill Lynch Mortgage Investors Prospectus, dated March 22, 2007.

Merrill Lynch Mortgage Investors Prospectus, dated May 15, 2007.

Merrill Lynch Registration Statement, dated August 5, 2005 (as amended).

Merrill Lynch Registration Statement, dated December 21, 2005 (as amended).

Merrill Lynch Registration Statement, dated February 2, 2007 (as amended).




	                                                  41
       Case 1:08-cv-10841-JSR-JLC Document 128-2 Filed 03/22/11 Page 43 of 43

	                                                      	                                                   	  


PLEADINGS AND OTHER LEGAL DOCUMENTS

Amended Class Action Complaint For Violations of §§ 11, 12(a)2 and 15 of the Securities Act of 1933, dated
July 6, 2010, Docket No. 103.

OTHER PUBLICLY-AVAILABLE MATERIAL

Bank of America website: http://www.bankofamerica.com/rmbs.

Securities Industry Financial Association Website: http://simfa.org/ research/statistic.aspx.

Bond Market Association Website: http://www.freddiemac.com/mbs/docs/about_MBS.pdf.

Credit Suisse US Mortgage Strategy “Credit Suisse - Mortgage Liquidity du Jour-Underestimated No More”
March 12, 2007.

The Securities Act of 1933, 15 U.S.C. § 77k, select provisions.

Securities and Exchange Commission 17 CFR Parts 210, 228, 229, 230, 232, 239, 240, 242, 245 and 249,
[Release Nos. 33-8518; 34-50905; File No. S7-21-04], RIN 3235-AF74, Asset-Backed Securities, available at
www.sec.gov/rules/final/33-8518.pdf.

Letter from AIMR to Brian J. Lane, Director, Division of Corporation Finance, “Recommendations for a
Disclosure Regime for Asset-Backed Securities” Sep. 30, 1996.




	                                                    42
